       Case 4:07-cv-05944-JST Document 1573-1 Filed 02/15/13 Page 1 of 27



      Guido Saveri (22349) guido@saveri.com
 1    R. Alexander Saveri (173102) rick@saveri.com
      Geoff Rushing (1269 1 0) grushing@saveri.com
 2    Cadio Zirpoli ( I 79 1 08) cadio@saveri.com
      SAVERI & SAVERI, INC.
 5    706 Sansome Street
      San Francisco, CA 94lll
 /l
 I
      Telephone: (415) 217-68 1 0
      Facsimile: (415) 217 -6813
 5
      Interim Lead Counsel for the Direct Purchaser Plaintiffs
 6

 7

 8                                UNITED STATES DISTRICT COURT
 9                             NORTHERN DISTRICT OF CALIFORNIA
l0                                     SAN FRANCISCO DIVISION
1l    IN RE: CATHODE RAY TUBE (CRT)                   Master File No. CV- 07-5944-SC
      ANTITRUST LITIGATION
t2                                                    MDL No. 1917
      This Document Relates to:
13
                                                      DECLARATION OF R. ALEXANDER
                                                      SAVERI IN SUPPORT OF FINAL
14
      ALL DIRECT PURCHASER ACTIONS                    APPROVAL OF CLASS ACTION
                                                      SETTLEMENT WITH LG DEFENDANTS
l5
                                                      Date: Marchl5,20l3
t6                                                    Time: 10:00 a.m.
                                                    ' Judge: Honorable Charles A. Legge (Ret.)
1l                                                    JAMS: Two Embarcadero Center. Suite 1500
18

19

20

2l
22
a1
ZJ

24

25

26

2l
28

      DECL. OF R. ALEXANDER SAVERI ISO OF FINAL APPROVAL OF CLASS ACTION SETTLEMENT WITH LG
      - 07-cv-5944-SC
       Case 4:07-cv-05944-JST Document 1573-1 Filed 02/15/13 Page 2 of 27




 I   I, R. Alexander Saveri, declare:

 2            1.    I am a partner with Saveri & Saveri, Inc., Interim Lead Counsel for Direct Purchaser
 J   Plaintiffs in this litigation. I am a member of the Bar of the State of California and an attorney

 4   admitted to practice in the Northem District of California. I make this Declaration in Support of

 5   Plaintiffs' Motion for Final Approval of Class Action Settlement with Defendants LG Electronics,

 6   Inc.; LG Electronics USA, Inc.; and LG Electronics Taiwan Taipei Co., Ltd. (collectively, "LG" or

 7   "Settling Defendants"). Except as otherwise stated, I have personal knowledge of the facts stated

 8   below.

 9            2.    Attached hereto as Exhibit 1 is the Settlement Agreement.

10            3.    This multidistrict litigation arises from a conspiracy to fix prices of Cathode Ray

11   Tubes ("CRTs"). In November of 2007, the first direct purchaser plaintiff filed a class action

l2   complaint on behalf of itself and all others similarly situated alleging a violation of section one of

13   the Sherman Act, 15 U.S.C. $ 1, and section four of the Clayton Act, l5 U.S.C. $ 15. Thereafter,

14   additional actions were filed in other jurisdictions, and the Judicial Panel on Multidistrict Litigation

l5   transferred all related actions to this Court on February 15, 2008. (Judicial Panel on Multidistrict

t6   Litigation Transfer Order-Docket No. 122). OnMay 9,2008, Saveri & Saveri, Inc. was appointed

11   Interim Lead Class Counsel for the nationwide class of direct purchasers. (Order Appointing

r8   Interim Lead Counsel-Docket No. 282).

19            4.    On March 76,2009, the Direct Purchaser Plaintiffs filed their Consolidated

20   Amended Complaint ("CAC") alleging an over-arching horizontal conspiracy among the

21   Defendants and their co-conspirators to f,rx prices for CRTs and to allocate markets and customers

22   for the sale of CRTs in the United States from March l, 1995 through November 25,2007 (the

¿J   "Class Period"). The Complaint alleges that Plaintiffs and members of the Class are direct

24   purchasers of CRTs and/or CRT Finished Products from Defendants andlor their subsidiaries and

25   were injured because they paid more for CRTs andlor CRT Finished Products than they would

26   have absent Defendants' illegal conspiracy. (Compl. 1[11213 - 22I). Plaintiffs seek, among other

zl   things, treble damages pursuant to Sections 4 of the Clayton Act, 15 U.S.C. $$ 15 and 22.

28   (Compl., Prayer for Relief ).

     DECL. OF R. ALEXANDER SAVERI ISO FINAL APPROVAL OF CLASS ACTION SETTLEMENT WITH LG -
     07-cv-5944-SC
           Case 4:07-cv-05944-JST Document 1573-1 Filed 02/15/13 Page 3 of 27




                 5.         Defendants filed several motions to dismiss the CAC on May 18,2009. (See Docket

     2   Nos. 463-493). On February 5,2010 this court issued its rulings denying in part and granting in
     a
     J   part Defendants' motions to dismiss (Report, Recommendations and Tentative Rulings regarding

     4   Defendants' Motions to Dismiss, Docket No. 597). After an objection by Defendants, Judge Conti

     5   on March 30,2010 entered an order approving and adopting Judge Legge's previous ruling and

     6   recommendations. (Docket No. 665). On April 29,2010, Defendants answered the CAC.

     7           6.         Thereafter, in May 2070, certain Defendants propounded interrogatories requesting

     I   Plaintiffs to identify what evidence they had about the existence of a conspiracy to fix the prices of

     9   CRT Products at the time they filed their complaints. Plaintifß objected to these interrogatories as,

10       among other things, premature "contention" interrogatories. Defendants moved to compel

1l       answers. On November 18, 2070, after a hearing, the Special Master ordered Plaintiffs to answer

12       the interrogatories. (Report and Recommendations Regarding Discovery Motions - Docket No.

13       810). On December 8, 2010, the Court adopted the Special Master's Report and Recommendation.

14       (Order Adopting Special Master's Report, Recommendation, and Tentative Rulings Regarding

l5       Discovery Motions - Docket No. 826). On January 31,2011, Plaintiffs answered Defendants'

t6       interrogatories.

17               7   .      On March 27,2011, certain Defendants moved for sanctions pursuant to Federal

l8       Rules of Civil Procedure, Rule 11 on the grounds that the allegations of a finished product

19       conspiracy were without foundation and should be stricken from the complaint. (Defendants'

20       Motion for Sanctions Pursuant to Rule 11 - Docket No. 880). On June 75,2071, after hearing, the

21       Special Master recommended that these Defendants' motion be granted and that Plaintiffs'

22       allegations of a finished products conspiracy be stricken from the complaint. (Special Master

¿)       Report and Recommendations on Motions Regarding Finished Products - Docket No. 947). The

24       Special Master also recommended that "the issue of the possible impact or effect of the alleged

25       fixing of prices of CRTs on the prices of Finished Products shall remain in the case, and is a proper

26       subject of discovery." Id.atp.74.

¿l              8.          On June 29,2011, Defendants moved the Court to adopt the Special Master's

28       Report and Recommendation. (Motion to Adopt Special Master's Report and Recommendation

         DECL. OF R. ALEXANDER SAVERI ISO FINAL APPROVAL OF CLASS ACTION SETTLEMENT WITH LG 2
         07-cv-5944-SC
       Case 4:07-cv-05944-JST Document 1573-1 Filed 02/15/13 Page 4 of 27




 I   Regarding Finished Products - Docket No. 953). Plaintiffs filed an objection to Special Master's

 2   Report and Recommendation. (Direct Purchaser Plaintiffs' Objection to Report and
 a
 J   Recommendation on Motions Regarding Finished Products - Docket No. 957). The Court set the

 +   matter for hearing on September 2,2011 . (Docket No. 968).

 5          9.       On August 26,2011, before the hearing on the Special Master's Report and

 6   Recommendations Regarding Finished Products, the parties entered into a stipulation which
 -   provided, among other things: 1) that the Special Master's recommended finding that Plaintiffs

 8   violated Rule 1 1 be vacated;2) that certain other aspects of the Special Master's recommendations

 9   be adopted; and 3) that Plaintiffs' "allegations of the Direct CAC purporting to allege a conspiracy

10   encompassing Finished Products are Stricken from the Direct CAC, provided, however, that the

ll   issue of the possible impact or effect of the alleged f,rxing of prices of CRTs on the prices of

t2   Finished Products shall remain in the case." In addition, Plaintiffs agreed to withdraw "all

13   discovery requests regarding or relating to information in support of the CRT Finished Product

t4   Conspiracy claims," and that "the issue of the purporled impact or effect of the alleged fixing of

l5   prices of the CRTs on the prices of the Finished Products shall remain in the case and is a proper

16   subject of discovery." (Stipulation and Order Concerning Pending Motions Re: Finished Products -

17   Docket No. 996).

18          10.      On December 12,2011, Defendants filed a joint motion for Summary Judgment

t9   against Direct Purchasers Plaintiffs who purchased CRT Finished Products. (Docket No. 1013). On

20   February 24,2012, Plaintiffs filed their Memorandum of Points and Authorities In Opposition to

2l   Defendants' Motion For Partial Summary Judgment and supporting Declaration of R. Alexander

22   Saveri under seal. (Docket No. 1057). That same day, the Direct Action Plaintiffs also filed an
aa
LJ   opposition to Defendants' motion. On March 9,2072, Defendants f,rled their Reply In Support of

24   Motion For Summary Judgment (Docket No. 1083) and on March 20,20I2,the Court heard

25   argument. On May 37,2012, the Special Master issued his Report and Recommendation regarding

26   Defendants' Joint Motion For Summary Judgment recommending that the Court grant Defendants'

27   motion and that judgment be entered against certain plaintiffs that directly purchased CRT Finished

28   Products ("R&R"). (Docket No. 1221).

     DECL. OF R. ALEXANDER SAVERI ISO FINAL APPROVAL OF CLASS ACTION SETTLEMENT V/ITH LG 3
     07-cv-s944-sc
        Case 4:07-cv-05944-JST Document 1573-1 Filed 02/15/13 Page 5 of 27




 I            1   1.   On June 12,2012, the Direct Purchaser Plaintiffs, the Direct Action Plaintiffs, and

 2    the Defendants submitted a Stipulation notifying the Court that Plaintiffs intended to object to the
 a
 J    R&R. (Docket No. 1228). On June 26,2012, the Court ordered all parties to file their briefs by

 +n   July 26,2012 and set a hearing for AugusT 10,2012. (Docket No. 1240). On July 28,2012,the

 5    Court vacated the hearing. (Docket No. 1243). The parties frled their briefs as ordered.

 6            12.      On November 29,2012, the Court entered the Order Granting in Part and Denying

      in Part Defendants' Joint Motion for Summary Judgment ("Order") (Docket No. 1470). The Court

 8    found that the Direct Purchaser Plaintiffs that purchased a Finished Product, were "in fact indirect

 9    purchasers for purposes of antitrust standing." Order atp.6. The Court further found that one of

10    the three exceptions that permit indirect purchasers to pursue private treble-damages claims,

11    outlined by the Ninth Circuit Court of Appeals in In re ATM Fee Antitrust Litig.,686 F.3d 741 (9th

l2    Cir.2012), did apply to the Direct Purchaser Plaintiffs. The Court ruled that the "Ownership and

13    Control Exception" created in Royal Printing Co. v. Kimberly-Clark Corp.,621 F.2d 323 (9thCir.

14    1980), conferred standing on Direct Purchaser Plaintiffs to sue "insofar as they purchased [Finished

15    Products] incorporating the allegedly price-fixed CRTs from an entity owned or controlled by any

16    allegedly conspiring defendant." Order at p. 16.

I7            13.      In September of 2008, the first of several stays prohibiting plaintiffs from obtaining

18    merits discovery was entered by this Court. (Stipulation and Order for Limited Discovery-

19    September 12,2008- Docket No.379; Stipulation and Order to Extend Limited Discovery Stay-

20    February 5, 2009-Docket No. 425; June 8,2009 Legge Order Further Extending the February 5,

21    2009 Order; January 5,2010 Stipulation and Order to Extend Limited Discovery Stay-Docket No.

22    590). On June 4,2008, Plaintiffs' propounded their First Set of Limited Document Requests.

¿)
^a    Thereafter, on March 72,2010, after the parlial stay of discovery was lifted, Plaintiffs propounded

24    their Second Set of Document Requests and First Set of Interrogatories. After extensive meet and

25    confers and several motions to compel, the Court issued its Report Regarding Case Management

26    Conference No. 4 on October 27,2071 setting the middle of December,2}ll as the deadline for

2l    the completion of substantial discovery by all parties. (Docket Nos. 1007, 1008). Plaintiffs have

28    now received over 5 million pages of documents from Defendants.

      DECL. OF R. ALEXANDER SAVERI ISO FINAL APPROVAL OF CLASS ACTION SETTLEMENT V/ITH LG 4
      07-cv-s944-sc
      Case 4:07-cv-05944-JST Document 1573-1 Filed 02/15/13 Page 6 of 27




 I          14.     On March 19,2012, the Special Master issued the Scheduling Order and Order Re

 2   Discovery and Case Management Protocol. (Docket Nos. 1093, 1094). The Court entered both
 a
 J   Orders on April 3,2012. (Docket Nos. I 127, | 128). The Scheduling Order set August 30, 2013 as

 4   the date for completion of all fact and expert discovery. Beginning in June of 2012, after meeting

     and confening with defendants regarding the scope and topics of 30(b)(6) witnesses, Plaintiffs in

 6   coordination with the indirect purchasers, the Attorneys General, and the opt-out plaintiffs, began

 7   taking 30(bX6) depositions of the various defendants. To date, plaintiffs collectively have deposed

 8   approximately twenty-five corporate representatives. Beginning in December of 2012, plaintiffs

 9   began taking fact depositions. To date, plaintiffs collectively have deposed more than five fact

10   witnesses.

ll          15.     On October 19,2012, the Couft granted final approval of the first two settlements

12   reached in this case with: (1) Chunghwa Picture Tubes, Ltd. and Chunghwa Picture Tubes

13   (Malaysia) Sdn. Bhd. ("CPT"), and (2) Koninklijke Philips Electronics N.V., Philips Electronics

t4   Norlh America Corporation, Philips Electronics Industries (Taiwan), Ltd., and Philips Da

l5   Amazonia Industria Electronica Ltda. (collectively, "Philips"). The Courl certified a Settlement

16   Class for the CPT and Philips settlements, appointed Plaintiffs' Interim Lead Counsel as Settlement

17   Class Counsel, and found that the manner and form of providing notice of the settlements to class

18   members was the best notice practicable under the circumstances. (Docket No. 1412).

19          16.     On December 27,2012, the Court granted final approval of the settlement reached

20   in this case with: Panasonic Corporation (flk/a Matsushita Electric Industrial Co., Ltd.), Panasonic

21   Corporation of North America, and MT Picture Display Co., Ltd., (collectively, "Panasonic"). The

22   Settlement also released Defendant Beijing Matsushita Color CRT Co., Ltd. ("BMCC"). The

ZJ   Court certified a Settlement Class for the Panasonic settlement, appointed Plaintiffs' Interim Lead

24   Counsel as Settlement Class Counsel, and found that the manner and form of providing notice of

25   the settlements to class members was the best notice practicable under the circumstances. (Docket

26   No. 1508).

27          17.     On November 13, 2012, the Court preliminarily approved the Settlement before the

28   Court. The Court certified a Settlement Class for the Settlement, appointed Plaintiffs' Interim Lead

     DECL. OF R. ALEXANDER SAVERI ISO FINAL APPROVAL OF CLASS ACTION SETTLEMENT WITH LG 5
     07-cv-5944-SC
      Case 4:07-cv-05944-JST Document 1573-1 Filed 02/15/13 Page 7 of 27




 I   Counsel as Settlement Class Counsel, approved the manner and form of providing notice of the

 2   Settlement to class members, established a timetable for publishing class notice and set a hearing
 a
 J   for final approval. (Docket No. 1441).

 4           18.    Mr. R. Alexander Saveri and Mr. Guido Saveri participated in the settlement

 5   negotiations with LG. Settlement negotiations began in July, 2012. They included a day long face

 6   to face meeting and several telephone calls. The negotiations were thorough and hard fought. They

     were contested and conducted at arms-length in the utmost good faith. The parties ultimately

 8   executed a settlement agreement on August 13,2012.

 9           19.    In exchange for dismissal with prejudice and a release of all claims asserted in the

l0   Complaint, LG has agreed to pay 525,000,000 in cash. The settlement funds have been paid and

11   deposited into a separate escrow account for the Direct Purchaser Class.

12          20.     LG's sales remain in the case for purposes of computing damages against the non-

13   settling defendants.

t4          2I.     LG has agreed to cooperate with Plaintiffs in the prosecution of this action by

15   providing information relating to the allegations about the multilateral or group CRT competitor

t6   meetings alleged in the Complaint. LG's cooperation includes l) an attomey proffer by LG's

17   counsel regarding the facts known to LG regarding multilateral or group CRT competitor meetings,

18   2) fhe interview and deposition of up to four LG persons with knowledge of multilateral or group

T9   CRT competitor meetings, 3) provision of one or more witnesses for deposition, and if necessary

20   for trial, to provide information with respect to LG's data regarding sales, pricing, production and

21   costs of its CRT Products, and 4) provision of one or more witnesses to testify regarding the

22   foundation of any LG document or data necessary for summary judgment and/or trial.

ZJ          22.     It is my opinion that the LG settlement is, in every aspect, fair, adequate and

24   reasonable and in the best interest of the class members. My opinion is based, among other things,

25   on my participation in virtually every aspect of this case, my review of all of the important

26   evidence obtained to date and my experience in many other class action antitrust cases.

27          23.     The notice plan for the settlement is substantially identical to the notice plan used

28   for the finally approved CPT and Philips Settlements, as well as the notice plan used for the finally

     DECL. OF R. ALEXANDER SAVERI ISO FINAL APPROVAL OF CLASS ACTION SETTLEMENT WITH LG 6
     07-cv-5944-SC
      Case 4:07-cv-05944-JST Document 1573-1 Filed 02/15/13 Page 8 of 27




 1   approved Panasonic Settlement. The plan of allocation is identical to the plan previously approved

 2   by the Court in connection with the CPT and Philips settlements, as well as the Panasonic
 a
 J   Settlement.

 4        I declare under the penalty of perjury under the laws of the United States of America that the

 5   foregoing is true and correct.

 6        Executed the 15th day of Febrtary,2073 in San Francisco, California.

 7
                                                                 /s/ R. Alexander Saveri
 8                                                                 R. Alexander Saveri

 9

10

11

12

l3

14

15

16

17

18

19

20

21

22

¿)

24

25

26

2l
28

     DECL. OF R. ALEXANDER SAVERI ISO FINAL APPROVAL OF CLASS ACTION SETTLEMENT WITH LG
     07-cv-5944-SC
Case 4:07-cv-05944-JST Document 1573-1 Filed 02/15/13 Page 9 of 27




            EXHIBIT 1
Case 4:07-cv-05944-JST Document 1573-1 Filed 02/15/13 Page 10 of 27




                         UNITED STATES DISTRICT COURT

                      NORTHERN DISTRICT OF CALIFORNIA

                               SAN FRANCISCO DIVISION


IN RE: CATHODE RAY TUBE (CRT) )                         Master File No. CV-07-s944 SC
ANTITRUST LITIGA.TION                            )
                                                 )        MDL No, 1917
THIS DOCUMENT RELATES TO:   )
ALL DIRECT-PURCHASER ACTIONS)

                                SETTLEMENT AGREEMENT

        This Settlement Agreement ("Agreement") is made and entered into this /3ft day
of August, 20l2by and between LG Electronics, lnc.; LG Electronics USA, Inc.; and LG
Electronics Taiwan Taipei Co., Ltd. (collectively "LG") and the direct-purchaser plaintiff
class representatives ("Plaintiffs"), both individually and on behalf of a settlement class
of direct purchasers of Cathode Ray Tube (CRT) Products ("the Class") as more
particularly defined in Paragraph I below.

        WHEREAS, Plainu'ffs areprosecuti:rgthe above.[n Re Cathode Ray Tube (CRT)
Antitrust Lítigøtíon, MDL No. 1917 (N.D. Cal.) (the "Action") on their own behalf and
on behalf of the Class against, among others, LG;

        WHEREAS, Plaintiffs allege that LG participated in an u¡lawful conspiracy to
raise, fix, maintai'], e¡ s¡¿þilizs the price of CRT Products at artificially high levels in
violation of Sectiqn 1 of the Sherman Act;
        'WHEREAS, LG denies Plaintiffs'allegations and has asserted defenses to

Plaintiffs' claims;

        WHEREAS, Plaintiffs have conducted an investigation into the facts and the law
regarding the Action and have concluded that resolving claims against LG according to the
tems set forth below is in the best interest of Plaintiffs and the Class;

        WHEREAS, LG, despite its belief tbat it is not liable for the claims asserted and has
good defenses thereto, has nevertheless agreed to enter into this Agreement to avoid further
expense, inconvenience, and the diskaction ofburdensome and protract€d
litigation, and to obtain the releases, orders, and judgment contemplated by this
Case 4:07-cv-05944-JST Document 1573-1 Filed 02/15/13 Page 11 of 27




Agreement, and to put to rest with finaiify all claims that have been or could have been
asserted against LG, based on the allegations of the Action, as more particularly set out

below;

         NOW TIIEREFORE, in consideration of the covenants, agreements, and releases
set forth herein and for other good and valuable consideration, it is agreed by and amotg
the undersigned that the Action be settled, semFromised, and dismissed on the merits
with prejudice as to the LG Releasees, as defined below, and except as hereinafter
provided, without costs as to Plaintiffs, the Class, or LG, subject to the approval of the
Court, on the following terms and conditions:

         A.      Definitions.

                1.   .   For purposes of this Agreement, "the Classrr and 'Class Period"
are defined in Plaintiffs'Consolidated Amended Complaint or, if that complaint is
amended to expand the definition of either term, the operative complaint at the time this
Agreement is presented for preliminary approval. The parties to this Agreement hereby
stipulate for pu4roses of this settlement only that the requirements of Rules 23(a) and
23(bX3) of the Federal Rules of Civil Procedu¡e are satisfied.

                2.       For pur¡roses of this Agree,ment "CRT Products" shall have the
meaning as defined in the Consolidated Amended Complaint or, if that Complaint is
amended to expand the definition of CRT Products, the operativs ssmplaint at the time
this Agreement is presented for prelirninary approval. For purposes of clarity, the term
"CRT Products" includes not only cathode ray tubes, but also electronic devices
containing cathode ray tubes, such as televisions and computer monitors.

                3.'      "LG Releasees" shall refer to the entíties that are referred to
collectively as "LG Electronics" in paragraph 45 of the Consolidated Amended Complaint,
and to all oftheir respective past and present, direct and indirect, parents, subsidiaries,
and affiliates (including but not limited to Zenith Electronics Corporation and, Zenith
Electronics Corporation of Pennsylvania), and all of their respective past and present,
direct and indirect, parents, subsidiaries, affiliates, unincorporated entities, divisions, and
grouPs; the predeQessors, successors and assigns ofany ofthe above; and each and all ofthe
present and former princþals, parErers, offi,cers, directors, supervisors, employees, agents,

representatives, i.nsurers, attorneys, heirs, executors, administrators, aud assigns of each of
the foregoing. 'LG Releasees" does not include any defendant in the Action
                                                2
Case 4:07-cv-05944-JST Document 1573-1 Filed 02/15/13 Page 12 of 27




("Defendant") other than those entities defined in the Consolidated Amended Çornplaint as
"LG Elechonics."


                4.      "Class Me,mber" means each member of the Class who has nottimely
elected to be excluded from the Class.

                5.     "Releasors" shall refer to the direct-purchaser plaintiff Class
representatives and the direct-purchaser plaintiffClass Members, and to their past and
present offi cers, directors, employees, a gents, stockholders, attorneys, servants,
re,presentatives, parents, subsidimies, affiIiates, partners, insurers and all otherpersons,
parùrerships or corporations with whom any of the former have been, or are now,
affrliated, and the predecessorri, successors, heùs, executives, administrators and assigns
of any of the foregoing, as well as to anyone claiming by, for, or through the Releasors.

                6. .     "The Settlement Fund" shall be S25,000,000 specified in Paragraph
16 plus accrued interest on said deposits set forth in Paragraph 17.

                7.       "Lead Counsel" shall refer to the law firm of:
                        Guido Saveri
                        R. Alexander Saveri
                        Saveri & Saveri, Inc.
                        706 Sansome Street
                        San Francisco, CA 9411 t

        B        Approval of this Aereement and Dismissal of Claims Aeainst LG-

                8.      Plaíntiffs and LG shall use their best efforts to effectuate this
Agreement, including cooperating in seeking the Court's approval for the establíshment of
procedures (including the giving of class notice under Federal Rules of Civil
Procedure 23(c) ánd (e)) to secure the prompt, complete, and final dismissal with
prejudice of the Action as to the LG Releasees only.

                9.      Plaintiffs shall submit to the Court a motion for authorization to
disseminate notice of the settlement and final judgment contemplated by this Agreement
to all Class members identiñed by the parties (the "Motion"). If notice to the Class is
given jointly with,any other settling defeudant for purposes of Paragraph 19 below, the
costs of notice ancl claims administration shall be prorated with any other such defendant
based on their respective settlement âmounts. The Motion shall include (i) a proposed form
Case 4:07-cv-05944-JST Document 1573-1 Filed 02/15/13 Page 13 of 27




of, method for, arid date of dissemination of notice; and (ii) a proposed form of order.
The text of the foregoing items (i) and (ii) shall be agreed upon by Plaintiffs and LG before
submission of the Motion, with the r¡nderstanding that, among other things, individual
notice of the settlement shall be mailed by regular mail or email, with appropriate notice by
publication, with all expenses paid from the Settlement Fund subject to Paragraph l9(a).
The Motion shall recite and ask the Court to find that the m¡iling of the notice of settlement
to all members of the Class who can be identified upon reasonable effort constitutes
valid, due and sufficient notice to the Class, constitutes the best notice practicable under
the circumstances, and complies fully with the requirements of Federal Rule of Civil
P¡ocedure 23.

                10.    Plaintiffs shall seek, and LG will not object unreasonably to the
entry of an order and final judgmen! the text of which Plaintiffs and LG shall agree upon.
The terms of that order and final judgment will include, at a minimum, tle substance of
the following provisions:

                a.     certiffing the Class described in Paragraph 1, pursuant to Rule 23 of
                       the Federal Rules of Civil Procedure, solely for purposes of this
                       settlement as a settlement class;
                b. ,   as to the Action, approving fi:rally this settlement and its terms as

                       being a fair, reasonable and adequate settlement as to the Class
                       Members within 1þs ¡¡saning of Rule 23 of the Federal Rules of
                       Civil Procedure and di¡ecting its consummation according to its
                       terurs;
                       as to the LG Releasees, directing that the Action be dismissed with

                       prejudice and, except as provided for in this Agreement, without
                       costs;
                d.     reserving exclusive jurisdiction over the settlement and this
                       Agree,ment, includingthe administation and consummation of this

                        settlement, to the United States District Court for the Northern
                       District of California; and
                        determining under Federal Rule of Civil Procedu¡e 54(b) that there
                        is no just reason for delay and directing that the judgment of dismissal
                        as to the LG Releasees shall be final.
Case 4:07-cv-05944-JST Document 1573-1 Filed 02/15/13 Page 14 of 27




               11.     This Agreement shall become final when (i) tbe Court has entered a
fi¡al order certiffing the Class described in Paragraph I and approving this Agreement
under Federal Rule of Civil Procedu¡e 23(e) and a ñnal judgment dismissing the Action
with prejudice as to LG Releasees against all Class Members and without costs other than
those provided for in this Agreement, and (ü) the time for appeal or to seek permission to

appeal from the Court's approval of this Agreement and entry of a final judgment as to
LG Releasees described in (i) hereofhas expired or, ifappealed, approval ofthis
Agreement and the fiaal judgment as to LG Releasees have been afñ.rmed in their entirety
by the Cou¡t of last resort to which such appeal has been taken and such affirmance has
become no longer subject to further appeal or review. It is agreed that the provisions of
Rule 60 of the Federal Rules of Civil Procedu¡c shall not be taken into account in
determining the above-stated times. On the date that Plaintiffs and LG have executed this
Agreement, Plaintiffs and LG shall be bound by its terms and this Agreement shall not be
rescinded except in accordance with Paragraphs i7(h), 18(a), 28, or 29 ofthis
Agreement.

                72. Neither this Agreement (whether o¡ not it should become fi-nal) nor
the final judgment, nor any and all negotiations, documents and discussions associated
with them, shall be deemed or construed to be an admission by LG (or the LG Releasees)
or evidence of any violation of any statute or law or of any liability or wrongdoing
whatsoever by LG (or the LG Releasees), or of the truth of any of the claims or
allegations contained in any complaint or any other pleading fiied in the Action, and
evidence thereofshall not be discoverable or used directly or indirectly, in any way,
whether in the Action or in any other action or proceeding. Neither this Agreement, nor
any of its terms and provisions, nor any of the negotiations or proceedings connected
with it, nor any other action taken to carry out this Agreement by any of the settling
parties shall be referred to, offered as evidence or received in evidence io any pending or
future civil, crimir¡.al, or adminisû'ative action or proceedings, except in a proceeding to
enforce this Agreement, or to defend against the assertion of Released Claims, 6¡ ut
otherwise required by law.

        C.      Release. Discharse. and Covenant Not to Sue.

                13.     ln addition to the effect of any final judgment entered in accordance
with this Agreement, upon this Agteement þsseming final as set out in Paragraph 11 of
Case 4:07-cv-05944-JST Document 1573-1 Filed 02/15/13 Page 15 of 27




this Agreement, and in consideration of payment of the Settlement Amount, as specified in
Paragraph l6 of this Agreement, and for other good and valuable consideration, the LG
Releasees shall be completely released acquitted, and forever discharged from any and all
claims, demands, judgments, actions, suits, causes of action, whether class, individual, or
otherwise (whether or not any Class Member has objected to the settlement or makes a
claim upon or participates in the Settlement Fund, whether directly, representatively,
derivatively, or in'any other capacity) that Releasors, or each of them, ever had, now has,
or hereafter can, shall, or may have on account of, or in any way arising out of, any and all
known and unlorow¡, foreseen and unforeseen, suspected or unsuspected injuries,
damages, aod consequences thereof in any way arising out of or relating in any way to any
act or omission of the LG Releasees (or any of them) or any other entity concerning the
manufactu¡e, supply, distribution, sale or pricing of CRT Products up to the date of
execution of this Ägreement, including but not limited to any conduct alleged, and causes
of action asserted or tl.at could have been alleged or asserted, in complaints filed in this
Action, including those arising under any federal, state, or foreign antitrust, unfair
competition, unfair practices, price discrimination, r:.nitary pricing, unjust enrichment,
contract, or trade þractice law (the "Released Claims"). However, the Released Claims
shall not preclude'Plaintiffs from pursuing any and all of their claims against other
defendants, excepiing the LG Releasees, for the sale of CRT Products by thóse other
defendants, or any subsidiary or affiliatc thereof, or their co-conspirators, again excepting
the LG Releasees.: Releasors shall not, after the date of this Agreement, sue or otherwise
seek to establish liability against any LG Releasee based, in whole or in part, upon any of

tle Released Claiùs or conduct at issue in the Released Claims.
                 l4;.   In addition to the provisions of Paragraph 13 of this Agreement,
 Releasors hereby expressly waive and release, upon this Agreement þsçsming filal, any

 and all provisions, rights, and benefits conferred by 5 1 542 of the California Civil Code,
 which states:

         CERTAIN CLAMS NOT AFFECTED BY GENERAL
         U]LEASE. A GENERAL RELEASE DOES NOT EXTEND TO
         CLAIMS.WHICH THE CREDITOR DOES NOT KNOW OR
         SUSPECT TO EXIST IN HIS OR }IER FAVOR AT TIIE TÍME
         OF EXEÇLrTING THE RELEASE, WHICH IF KNOWN BY HIM
         OR TIERMUST HAVE MATERI,ALLY AFFECTED HIS OR ITER
         SETTLEMENT WITH TIIE DEBTOR
Case 4:07-cv-05944-JST Document 1573-1 Filed 02/15/13 Page 16 of 27




or by any law of any state or territory of the United States, or principle of common law,
which ¡s similar, comparable, or equivalent to $ 1542 of the Califomia Civil Code. Each
Releasor may hereafrer discover facts other than or different from those which he, she, or
it knows or believes to be tn¡e with respect to the claims which are the subject matter of
the provisions of Paragraph 13 of this Agteement, but each Releasor hereby expressly
waives and fully, finally, and forever settles and releases, upon this Agreement þes6ming
 final, any k¡rown or unknown, suspected or unsuspected, contingent or non-contingent
 claim with respect to the subject matter of the provisions of Paragraph 13 of this
 Agreement, whether or not concealed or hidden, without regard to the subsequent
 discovery or existence ofsuch different or additional facts-

                 15.   The release, discharge, and covenant not to sue set forth in
Paragraph 13 of this Agreement does not include claims by any of the Class Members other
than the Released Claims and does uot include qths¡ çl¿ims, such as those solely arising
out of product liability, personal iqjury, or breach of contract claims not related to the
subject matter of the Action in the ordinary course of business not covered by the Released
Çl¿ims.

           D.    SettlementAmolmt.

                 16.    Subject to the provisions hereof, and in full, complete and final
settlement of the Action as provided herein, defendant LG shall pay the Settlement
Amount of $25,000,000 in United States Dollars (the "Settlement Amount"). The
Settlement Amount shall be puid ioto an escrow accoutrt in United States Dollars to be
arlministered in accordance with the provisions of Paragraph 17 of this Agreement (the

"Escrotv Account") thtty (30) days after execution of this Agreement.

                 17. Escrow Account.
           (a)   The Escrow Account will be established at Citibank, N.A.
                                                                             -
                                                                                 Citi Private
Bank, San Francisco, California, with such Bank serving as escrotÀr agent ("Escrow
Agent") subject to escrow instructions mutually acceptable to Plaintiffs' Lead counsel and
LG, such escrow to be administered under the Court's continuing supervision and
 contol.

           (b)   The Escrow Agent shall cause the fr¡nds deposited in the Escrow Account to
be invested in short-term instruments backed by the full faith and credit of the United
Case 4:07-cv-05944-JST Document 1573-1 Filed 02/15/13 Page 17 of 27




States Government or fully insured in writing by the United States Government, or
money market funds rated Aaa and AAA" respectively by Moody's Investor Services and
Standard and Poor's, invested substantially in such instuments, and shall reinvest any
i;rcome from these instnrments and the proceeds of these instruments as they mature in
similar i¡stn¡ments at their then cutrent market rates.

        (c)     All fi¡nds held in the Escrow Account shali be deemed and considered to be
in custodia legis of the Court, and shall remain subject to the jurisdiction of the Court, until
such time as such funds shall be distributed pursuant to this Agreement and/or firrther
order(s) of the Cor¡rt.

        (d)     Plaintitrs and LG agree to beat the Settlement Fund as being at all times a
qualified settlement fUnd within 1þs nsaning of Treas. Reg. $ 1.4688-1. h addition, the
Escrow Agent sþ¿ll timely make such elections as necessary or advisable to carry out the
provisions of this Paragraph 17, including the relation-back election (as defined in Treas.
Reg. $1.4688-1) back to the earliest permitted date. Such elections shall be made in
compliance with the procedures and requirements contained in such regulations. It shall
be the responsibility of the Escrow Agent to timeþ and properly prepare and deliver the

necessa{y documentation for signature by all necessary parties, and thereafrer to cause the

appropriate filing to occur.

        (e)      For the purpose of$ 4688 ofthe Internal Revenue Code of 1986, as
amended, and the regulations promulgated there under, the ad:ninistrator shall be the
Escrow Agent. The Escrow Agent shall timely and properly file all informational and
other tax returns necessary or advisable with respect to the Settlement Fund (including
without limitation the returns described in Treas. Reg. $ 1.4688-2(k)(1)). Such.returns
(as well as the election described in Paragraph 17(d)) shall be consistent with Paragraph

17(d) and in all events shall reflect that all Taxes, as defined below (including any
estimated Taxes, interest or penalties), on the income eamed by the Settlement Fund shail
be paid out of the Settlement Fund as provided in Paragraph 17(f) hereof

        (Ð       All (Ð taxes (including any estimated taxes, interest orpenalties) arising
with respect to the income eamed bythe Settlement Fund, including any taxes or tax
detiments that may be imposed upon LG or atry other LG Releasee with respect to any
income ea¡ned by the Settlement Fund for any period during which the Settlement Fund
does not qualify as. a qualifi,ed settlernent fr¡nd for federal or state income tax purposes
Case 4:07-cv-05944-JST Document 1573-1 Filed 02/15/13 Page 18 of 27




("Taxes"); and (ii) expenses and costs incu¡red in connection with the operation and
implementation of Paragraphs 17(d) through l7(Ð (including, without limitation,
expenses of tax attorneys and/or accountants and mailing and distribution costs and
expenses relating to filing (or failing to file) the returns described in this ParagÊph 17(f)
("Tax Expenses")), shall be paid out of the Settlement Fund.

        (Ð      Neither LG nor any other LG Releasee nor thei¡ respective counsel shall
have any liability or responsibility for the Taxes or the Tax Expenses. Further, Taxes and
Tax Expenses shall be ûeated as, and considered to be, a cost of adminishation of the
Settlement Fund a¡d shall be timeþ paid by the Escrow Agent out of the Settlement Fund
without prior order from the Court and the Escrow Agent shall be obligated
(notwithstanding anything herein to the conkary) to withhold from distibution to any
claimants authorizèd by the Court any funds necessary to pay such amounts including the
establishment of adequate reserves for any Taxes and Tax Expenses (as well as any
amounts that may be required to be withheld under Treas. Reg. $ 1.4688-2(1X2))'
Neither LG nor any ottrer LG Releasee is responsible nor shall they have any liability
therefor. Plaintiffs and LG agree to cooperate with the Escrow Agent each other, and
their tax attomeys and accountants to the extent reasonably necessary to carry out the
provisions of Paragraphs 17(d) throueh U(Ð.

        (h)     If this Agreement does not receive final Court approval, including final
approval of "the Class" as defined in Plaintiffs' Consolidated Amended Complaint (or, if
that complaint is amended to expand the definition of "the Class," the operative
complaint at the time this Agreement is presented for preliminary approval) or if the
Action is not certified as a class action for settlernent purposes5 then all amounts paid by
LG into the Settlement Fund (other than costs expended in accordance with Paragraph
 l9(a)) shall be retumed to LG from the Escrow Account by the Escrow Agent along with
any interest accrued thereon s'ithin thirry (30) calendar days.

                1&       Exclusions.

        (a)     V/ithin ten (10) business days after the end of the period to request
exclusion from the Class, Lead Counsel will cause copies of timely requests for
exclusion from the Class to be provided to counsel for LG. To the extent that LG
determines in good faith that its sales of CRT Products during the Class Period to the
potential members of the Class (or any of them) who have requested exclusion from the
Case 4:07-cv-05944-JST Document 1573-1 Filed 02/15/13 Page 19 of 27




Class represent an amount of sales equal to or greater than 80% of LG's sales of CRT
Products in the United States during the Class Period, LG may terminate the Agreement
within thirry (30) days of receipt of the list of exclusions.

        (b)        If LG terminates this Agreement pursuant to Paragraph l8(a), then all
amounts paid by LG into the Settlement Fund (other than notice costs expended in
accordance with Paragraph 19(a)) shall be retumed to LG from the Escrow Account by
the Escrow Agent along with any interest accrued thereon within thirty (30) calendar
days.

        (c)        With respect to any potential Class member who requests exclusion from
the Class, LG reserves all of its legal rights and defenses, including, but not limited to,
any defenses relating to whether the excluded Class member is a direct purchaser of any
allegedly price frxed product and/or has standing to bring any claim.

                   19.    Palment of Expenses.

        (u)        LG agrees to permituse of a maximum of $300,000 of the Settlement
Fund towards notice to the class and the costs of ad¡ninistration of the Settlement Fund
set forth in Paragraph 17. The $300,000 in notice and administration expenses are not
recoverable if this settlement does not become final to the extent such fr¡nds are expended
for notice and administration costs. Other than as set forth in this Paragraph 19(a),
neither LG nor any of the other LG Releasees under this Agreement shall be liable for
any of the costs or expenses of the litigation of the Action, including attorneysr fees; fees
and expenses ofexpert witnesses and consultants; and costs and expenses associated with
discovery, motion practice, hearings before the Court or any Special Master, appeals,
trials or the negotiation of other settlements, or for Class a¡lministration and costs.

        (b)        If Lead Cormsel enter into any other settlements on behalf of the Class
before notice of this Agreement is given to the Class, Lead Counsel shall use its
reasonable best efforts to provide a single notice to prospective Class members of all of
the settlements.

        E,          The Settlement Fund-

                   20.    Releasors shall look solely to the Settlement Fund for settlement
and satisfaction against the LG Releasees of all Released Claims, and shall have no other

recovery against LG or any other LG Releasee.

                                                  10
Case 4:07-cv-05944-JST Document 1573-1 Filed 02/15/13 Page 20 of 27




                2I.     After this Agreement becomes frnal within the meaning of
Paragraph 11, the Settlement Fund shall be distibuted in accordance with a plan to be
submitted at the approp¡i¿1s fime by Plaintiffs, subject to approval by the Court. In no event
shall any LG Releasee bave any responsibility, finnncial obligation, or liability whatsoever
with respect to the investment, distribution, or administration of the Settlement Fund,
hçluding, but not limited to, the costs and expenses of such distribution and administration,
with the sole exception of the provisions set forth in Paragraph l9(a) of this Agteement.

                22.     Plaintitrs and Class Counsel shall be reimbursed and indemnified
solely out of the Settlement Fund for all expenses. The LG Releasees shall not be liable
for any costs, fees, or expenses of any of Plaintiffs' or the Class' respective attorueys,
experts, advisors,.agents, or representatives, but all such costs, fees, and expenses as
approved by the Court shall be paid out of the Settlement Fund.

                23-     Class Counsel's Attorneys'Fees And Reimbu¡sement of Expenses.

        (a)     Class Counsel may submit an application or applications to the Court (the

"Fee and Expense Application") for distribution to them from the Settlement Fund and LG
shall not oppose such application fo¡: (i) an award ofattorneys'fees not in excess ofone-
third ofthe settlerhent fund; plus (ii) reimburse,ment of expenses and costs incurred in
connection with prosecuting the Action, plus interest on such attomeys'fees, costs and
expenses at the same rate and for the same period as earned by the Settlement Fund (undl
paid) as may be awarded by the Court (the "Fee and Expense Award"). Class Counsel
reserye the right to make additional applications for fees and expenses incurred, but in no
event shall LG Rèleasees be responsible to pay any such additional fees and expenses
except to the extent they are paid out of the Settlement Fund.

        (b)     The Fee and Expense Award, as approved by the Court, shall be paid
solely fron the Settlenent Fund. After this Agreement becomes final within the meaning
of Paragraph 11, the Fee and Expense Award shall be paid to Lead Counsel within ten
(10) business days. Lead Counsel shall allocate the attorneys' fees among Class Counsel
in a manner which it in good faithbelieve reflects the contibutions of such counsel to the
prosecution and settlement of the Action,

        (c)     Ttie procedure for and the allowance or disallowance by the Court of the
 application by Class Counsel for attomeys' fees, costs and expe,nses to be paid out ofthe
 Settlement Fund are not part of this Agreement, and are to be considered by the Cou¡t
                                               ll
Case 4:07-cv-05944-JST Document 1573-1 Filed 02/15/13 Page 21 of 27




separately from the Court's consideration of the faimess, reasonableness and adequacy of
the Settlement, and any order or proceeding relating to the Fee and Expense Application,
or any appeal from any such order shall not operate to terminate or cancel this
Agreement, or affect or delay the finality of the judgment approving the settlement.

       (d)     Neither LG nor any other LG Releasee under this Agreement shall have
any responsibility for, or interest in, or liabiliqy whatsoever with respect to any pa¡ment
to Class Counsel of any Fee and Expense Award in the Action.

       (e)     Neither LG nor any other LG Releasee under this Agreement shall have
any responsibility for, or interest in, or liability whatsoever with respect to the allocation
amotrg Class Counsel, and/or any other person who may assert some claim thereto, of any

Fee and Expense Award that the Couf may make in the Action.

       E        Cooperation.

                24.     LG shall reasonably cooperate wíth Lead Counsel as set forth
speciñcally below:

                (a)     LG's counsel of record will make themselves available in the
                United States for up to a total of two (2) meetings (each meeting may last
                one day) with counsel to provide, to the extent reasonably possible, an
                attorney's proffer of facts known to LG regarding the allegations about the
                multilateral or group CRT competitor meetings alleged in Plaintiffs'
                Consolidated Amended Complaint, including, without limitation,
                information known to counsel about the expected testimony of any LG
                ernployees with knowledge (if any) of any such meetings, and docr¡ments
                (if any) relating to any such meetings, and LG witnesses (if any) regarding
                any such meetings, provided that such inforrnation is not covered by
                privilege or other protections available under any applicable United States
                law, plus reasonable follow-up conversations includitg, but not limited to,
                identifying individuals, such as current or former e.mployees, who may
                provide information or potential testimony relevant to the alleged meetings.
                LG shal1 identiff and produce relevant documents, to the extent such
                documents are reasonably available and not previouslyproduced in the
                Action, sufficient to show sales, pricing , capacit'yr, and production, as well


                                                1,2
Case 4:07-cv-05944-JST Document 1573-1 Filed 02/15/13 Page 22 of 27




                                                                           competitor
                                        to the multilateral or group CRT
        as documents (if any) related
                                        Consolidated Amended Compiaint'
        meetings alleged in Plaintiffs'
                                                                     Plaintifß
        (b) Notwithstanding any other provision in this Agreement'
        agreethattheyandClassCorrnselshallmaintainalistate,nentsmadeby
        LG'scou¡selasstrictþconfidential;andthattheyshallnotusedirectlyor
                                               for any purpose other than the
        indirectly the information so received
        prosecutionoftheAction.Thepartiesandtheircounselfurtheragreethat
                                                                       as part of
                                     counsel in connection with and/or
        any state,nents made by LG's
                                                   proffer referred to in Paragraph
         this settlement, including the attorney's
                                                                              and shall
         24(a) above, shall be protected
                                          by Federal Rule of Evidenoe 408'
                                           any person or heated as evidence
                                                                                 of any
         in no,event be discoverable by
         kind.'
                                                     date of execution of this
         (c)      Upon reasonable notice after the
                                                    efforts to make available for
         Agreêment, LG agrees to use reasonable
                                                 at hearings or trial' via
         interviews, depositions, and testimony
                                                                                (except
                                            agreed upon location or locations
         videoconference or at a mutually
                       at hearings or hial' which
                                                   shall be at the United States
          for testimony
          CourthouseoftheUnitedstatesDistrictCourtfortheNorthemDistrictof
                                                                           may consist
                                            up to four (4) persons' which
          California), and at LG's expense
                                                employees of LG (or former
                                                                             directors'
          of cùrrent directors, of6cers, and/or
          ofñcers and/or emproyees of LG,
                                             if such forrner ernployees agree to
                                                             with counsel for LG'
           cooperate) whom Lead Counsef in consultation
                                                  to have knowledge regardingthe
           reasonably and in good faithbelieve
           multilateratorgroupCRTcompetitormeetingsallegedinPlaintiffs'
           ConsolidatedAmendedComplaint.Interviewsshallbelimitedtoatotalof
                                                       and can be conducted
           six:(6) hours ovsr one day per interview
           telephonicallyûomoverseasatthewitness'schoice.De¡lositionsshallbe
           administeredaccordingtotherulesandlimitationsoftheFederatRulesof
                                                       at which they take place or the
           civil procedure, regardless of the rocation
            citizenshipofthedeponent.LGagreestobearreasonableüavelexpeirses
                                                              LG also agrees to use
            incurred by witnesses pursuant to this Paragraph'
            go.odfaitheffortstoobtainthecooperationoffornrerdirectors,officers
            and/ore,rnployees,aspartofthefour(4)wiuessesidentifiedabove'iflead

                                            l3
Case 4:07-cv-05944-JST Document 1573-1 Filed 02/15/13 Page 23 of 27




               Counsel asks LG to include such individuals within the list of four (4).
               However, it is agreed that LG does not have any obligation to make such
               efforts for any former LG employees that are currently ernployed by other
               Defendants.
               (d)     LG agrees to provide one or, if necessary, more witnesses for
               deposition, an( if necessary at trial, to provide information, to the best of
               their ability, with respect to LG's data regarding sales, pricing, production,
               capacity and cost of its CRT Products. In addition, LG agrees to provide
               one or, if necessary, more witnesses to establish, to the best of their ability,
               the foundation of any LG document or data Lead Counsel identifr as
               necessary for summaryjudgment and/or trial.
               (e)     Nothing herein is intended to, or obligates LG to, waive any
               privilege or immunity. If any document protected by the attomey-client
               privilege, attorney work-product protection, joint defense or any other
               protection, privilege, or immunity is accidentally or inadvertently produced
               under this Paragraph, the document shalt promptly be destroyed and/or
               returned to LG, and its production shall in no way be construed to have
               waived any privilege or protection attached to such document.
               (Ð      Plaintiffs a¡d Iæad Counsel agree they will not use the information
               provided under this Paragraph for any purpose other than the pursuit of the
               Action, and \a'ill not publicize the information beyond what is reasonably
               necessary for the prosecution ofthe action or as otherwise required by law.
               Any documents and other information provided will be deerned "Highly
               Confidential" and subject to the protective order entered in the Action as if
               they had been produced in response to discovery requests and so
               designated.

               25.     In the eve,nt that this Agreernent fails to receive final approval by
the Court as contemplated in Paragraphs 8-11 hereo{ including final approval of "the
Class" as defined in Plaintiffs' Consolidated Amended Complaint (or, if that complaint is
amended to expand the definition of "the Class," the operative complaint at the time this
Agreement is presented for prelimi¡ary approval), or in the event that it is terminated by
either parly under any provision herein, ttre parties agree that neither Plaintiffs nor
Plaintiffs' counsel shall be permitted to introduce into evidence, at any hearing, or in
                                              1.4
Case 4:07-cv-05944-JST Document 1573-1 Filed 02/15/13 Page 24 of 27




suppoft of any motion, opposition or other pleading in the Action or in any other federal or
state or foreign action alleging a violation of any law relating to the subject matter of this
Action, any deposition testimony or any documents provided by the LG Releasees, their
counsel, or any individual made available by the LG Releasees pursuant to the
cooperation provisions of Paragraph 24.

                 26.     Except as provided in Paragraph 24 of this Agreement, LG need
not respond to formal discovery from Plaintiffs or otherwise paficipate in the Action
during the pendency of the Agreement. Neither LG nor Plaintiffs shall file motions
against the other during the pendency of the Agreement- In the event that the Agreement
is not approved by the Court, or others,ise terminates, LG and Plaintiffs will each be
bound by and have the benefit of any rulings made in the Action to the extent they would
have been applicable to LG or Plaintiffs had LG been participating in the Action.

                 27.     LG a¡d Plaintiffs agree not to disclose publicly or to any other
 defendant the temrs of this Agreement until this Agreement is submitted to the Court for
 approval.

            G.   Rescission if this Ag¡eement is Not Approved or Final Judp.ent is Not

 Entercd-

                 28.     If the Court refuses to approve this Agreement or any part hereof,
 including if the Court does not certifu a settlement class in accordance with the specific
 class definition set forth in Plaintiffs' Consolidated Amended Complaint, o¡ if such
 approval is modified or set aside on appeal, or if the Court does not enter the final
judgment provided for in Paragraph 10 of this Agreement, or if the Court enters the final
judgment and appellate review is sought and on such review, such final judgment is not
 affirmed in its e,ntirety, then LG and the Plaintiffs shall eacb" in their sole discretion, have
 the option to rescind this Agreement in its entirety. Written notice of the exercise of any
 such right to resiind shall be made according to the terms of Paragraph 39. A
 modification or reversal on appeal of any amount of Class Counsel's fees and expenses
 awarded by the Court from the Settlement Fund shall not be deemed a modification of all
 or a part of the terms of this Agreement or such final judgment.

                 29.     In the event that this Agreement does not become final, then this
 Agreement shall be of uo force or effect and any and all parts of the Settlement Fund
 caused to be deposited in the Escrow Account (including interest eamed thereon) shall be

                                                 t5
Case 4:07-cv-05944-JST Document 1573-1 Filed 02/15/13 Page 25 of 27




returned forthwith to LG less only disbursements made in accordance with Paragraph 19
of this Agreement.'LG expressly reserves all of its rigbts and defenses if this Agreement
does not become firal.

               30.       Further, and in any event, Plaintiffs and LG agree that this
Agreement, whether or not it shall become final, and any and all negotiations, documents,
and discussions associated with it, shall not be deemed or constnred to be an admission or

evidence of any violation of any statute or law or of any liability or wrongdoing
whatsoever by LG (or the LG Releasees), or of the truth of any of the claims or
allegations contained in the comFlaint or any other pleading filed in the Action, or by any
person or entity in any other action, and evidence thereofshall not be discoverable or
used directly or indirectly, in any way, whether in the Action or in any other action or
proceeding.

               31.       This Agreement shall be construed and interpreted to effectuate the
intent of the parties, which is to provide, through this Agreement, for a complete
¡esolution of the relevant claims with respect to each LG Releasee as provided in this
Agteement.

               32.       The parties to this Agreement contemplate and agree that, prior to final
approval of the settlement as provided for in Paragraphs 8-11 hereof, appropriate notice l)
of the settlement; ând 2) of a hearing at which the Court will consider the approval of this
Settlement Agreement will be given to Class members.

               H         Miscellaneous.

               33-       This Agreement does not settle or compromise any claim by
Plaintiffs or any Class Member asserted in the Consolidated Amended Complaint or, if
amended, any subsequent Complaint, against any defendant or alleged co-conspirator
other than the LG Releasees. AII rights against such other defendants or alleged co-
conspirators are specifically reserved by Plaintiffs and the Class- LG's sales to the Class
shall not be removed from the Action.

               34.       The United States District Court for the Northern District of
California shall retain jurisdiction over the imFlementation, enforcement, and
performance of this Agreement, and shall have exclusive jurisdiction over any suit,
action, proceeding, or dispute arising out of or relating to this Agreement or the

                                                16
Case 4:07-cv-05944-JST Document 1573-1 Filed 02/15/13 Page 26 of 27




applicability of this Agreement that cannot be resolved by negotiation and agreement by
Plaintiffs and LG. This Agreement shall be governed by and interpreted according to the
substantive laws of the state of California without regard to its choice of law or conflict
of laws principles:

                 35.      This Agreement constitutes the entire, complete and integrated
agreement among Plaintiffs and LG pertai.ning to the settlement of the Action against LG,
 and supersedes all prior and contemporaneous undertakings of Plaintifß and LG in
 connection herewith. This Agreement may not be modifisd e¡ amended exce,pt in writing
 executed by Plaintiffs and LG, and approved by the Court.

                 36,. This Agreement shall be binding upon, and inure to the beneñt of,
 the successors and assips of Plaintiffs and LG. V/ithout limiting the generality of the
 foregoing, each and every covenant and agreement made herein by Plaintiffs, Lead
 Counsel or Class Counsel shall be binding upon all Class Members and Releasors. The
 LG Releasees (other than LG which is a parfy hereto) are thi¡d party beneficiaries of this
 Agreement and ar,e authorized to enforce its terms applicable to them.

                 37
                      ,   This Agreement may be executed in counterparts by Plaintiffs and
 LG, and a facsimile signature shall be deemed an original signature for purposes of
 executing this Agreement.

                 38,      Neither Plaintiffs nor LG shall be considered to be the drafter of
 this Agreement or any of its provisions for the purpose of any statute, case la\v, or ruIe of
 interpretation or construction that would or might cause any provision to be construed
 against the d¡after of this Agreement.

                 39- Where this Agreement requires either party to provide notice or any
 other communication or document to the other, such notice shall be in writing, and such
 notice, cornmunication, or document shall be provided by facsimile or letter by ovemight
 delivery to the undersiped co,'nssl of record for the party to whom notice is being provided.




                                                 1n
                                                 TI
Case 4:07-cv-05944-JST Document 1573-1 Filed 02/15/13 Page 27 of 27




               40-     Each of the undersigned attomeys rq>resents that he or she is frrlly
authorized to enter into the terms and conditions of, and to execute, this Agreement,
subject to Court approval.


naied: August/J,2012
                                               Guido Saveri
                                               guido@saveri.com
                                               R Alexander Saveri
                                               rick@saveri.com
                                               SAYERI & SA\¡ERI,INC.
                                               706 Sansome Street
                                               San Francisco, CA 941 I 1
                                               Telephone: (41 5) 217-6810
                                               Facsimile: (415\ 217 -6813

                                                Lead Counsel and Attornevs for the Class



                                                               /. /\      ¡
                                                         lrrwl lwrl
                                                         rrl
                                               DOUGLASL. WAID @ro HacYice)
                                               dou glas.wald@aporter.com
                                               WILSOND. MUDGE (Pro Hac Yíce)
                                               wilson.mud ge@ apo{ter.com
                                               YONGSANG KßvI (Pro Hac Vice)
                                               yongsang. kim@ap orter. com
                                               ARNOLD & PORTERLLP
                                               555 Twelffh Street, NV/
                                               Washington, DC 20004
                                               Telephone : (202) 942-50OO
                                               Facsimile: (202) 942-5999

                                               Attorneys for Defendants LG Electronics,
                                               Inc,; LG Electronics USA, Inc.; and LG
                                               Electronics Taiwan Taipei Co., Ltd.




                                               18
